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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re: Chapter l l

WOODBRIDGE GROUP OF COMPANIES, Case No. 17~12560 (K.TC)

LLC, et at'., l
Jointly Administered

Debtors. _- . ,
Re: Docket No. § jj 3 [G é’

 

 

ORDER CLARIFYING THE REQUIREMENTS TO PROVIDE
ACCESS TO CONFIDENTIAL OR PRIVILEGED INFORMATION

Upon consideration of the Motion of the Ojicial Committee of Unsecured
Credr`fors for an Order Clarij§)ing the Requiremems to Provide Access to Conjidential or
Prr'vz'leged Informatr`on (the “MQ;M”)Z filed by the Ofticial Committee of Unsecured Creditors
(the “Committee”) of Woodbridge Group of Companies, LLC, et al., and it appearing that the
relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors, and
all other parties in interest; and the Court having jurisdiction to consider the Motion and the
relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334; and consideration of the Motion
being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper in this Court
pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing that no other or further notice need be
provided; and no objections to the Motion having been tiled; and after due deliberation and

sufficient cause appearing therefor,

 

l The last four digits of Woodbridge Group ofCompanies, LLC’s federal tax identification number are 3603. The
mailing address for Woodbridge Group of Companies, LLC is 14225 Ventura Boulevard #100, Sherrnan Oaks,
California 91423. The complete list of the Debtors, the last four digits of their federal tax identification numbers,
and their addresses may be obtained on the website of the noticing and claims agent at
www.gardencitvgrout).com/cases/WGC.

z Capita[ized terms not othexwise defined herein shall have the meaning given them in the Motion.

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IT IS HEREBY ORDERED THAT:

i. The relief requested in the Motion is granted to the extent set forth
herein.

2. Pursuant to section ll()?.(b)(3)(A) of the Bankruptcy Code, the
Committee shall not be required to provide access to any Confidential lnformation of the
Debtors, or any other Entity, to any creditor with a claim of the kind represented by the
Cornmittee, except as provided beloW.

3. Pursuant to section iiOZ(b)(fi)(A) of the Banlcruptcy Code, the
Committee shaii not be required to provide access to any Priviieged Information to any creditor
With a claim of the kind represented by the Committee. Nonetheless, the Comrnittee shall be
permitted, but not required, to provide access to Priviieged Information to any party so long as
(a) such Privileged Inforrnation is not Confidential Information, and (b) the relevant privilege
is held and controlled soieiy by the Committee.

4. ri`he Cornmittee shall implement the following protocoi for providing
access to information for creditors (“Creditor Inforrnation Protocoi”) in accordance With

section ii02(b)(3)(A) and (B) of the Bankruptcy Code.

a. Privileged and Confidential Information. The Committee shail not
be required to disseminate to any entity (all references to “entity”
herein shall be as defined in section 101(15) of the Bankruptcy
Code, “Entity”) Without further order of the Court, (i) Confidentiai
lnformation and (ii) Privileged Information. ln addition, the
Cornrnittee shali not be required to provide access to information
or solicit comments from any Entity that has not demonstrated to
the satisfaction of the Committee, in its sole discretion, or to the
Court, that it holds ciairns of the kind described in section
f lOQ(b)(?)) of the Bankruptey Code.

b. Information Obtained Through Diseovery. Any information
received (formaliy or informaliy) by the Cornmittee from any
Entity in connection with an examination pursuant to Bankruptcy
Rule 2004 or in connection with any formal or informal discovery
in any contested matter, adversary proceeding, or other litigation
shall not be governed by any order entered With respect to this

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Motion but, rather, by any order governing such discovery.
Nothing herein shall obligate the Committee to provide any
information the Committee obtains from third parties.

Creditor Information Requests. If a creditor (the “Reguesting
Creditor”) submits a written request to the Committee (the
“ nformation Reguest”) for the Committee to disclose information,
pursuant to section 1102(b)(3)(A) of the Banl<ruptcy Code, the
Committee shall, as soon as practicable, but no more than thirty
(30) days after receipt of the Inforrnation Request, provide a
response to the Information Request (the “Response”), including
providing access to the information requested or the reasons the
Information Request cannot be complied with. If the Response is
to deny the information Request because the Committee believes
the Information Request implicates Confidential Information or
Privileged Information that need not be disclosed (i) pursuant to
the terms of this Order or otherwise under section llOZ(b)(B)(A) of
the Bankruptcy Code, (ii) because such disclosure is prohibited
under applicable law, (iii) because such information was obtained
by the Committee pursuant to an agreement to maintain it as
confidential, or (iv) that the Information Request is unduly
burdensome, the Requesting Creditor may, after a good faith effort
to meet and confer with an authorized representative of the
Committee regarding the lnformation Request and the Response,
seek to compel such disclosure for cause pursuant to a motion.
Such motion shall be served and the hearing on such motion shall
be noticed and scheduled Nothing herein shall be deemed to
preclude the Requestng Creditor from requesting (or the
Committee objecting to such request) that the Committee provide
the Requesting Creditor a log or other index of any information
specifically responsive to the Requesting Creditor’s request that
the Committee deems to be Contidential Information or Privileged
Inforrnation. Furthermore, nothing herein shall be deemed to
preclude the Requesting Creditor from requesting that the Court
conduct an in camera review.

Release of Confidential lnf`orrnation of Third Parties. lf the
Information Request implicates Confidential lnf`ormation of the
Debtors (or any other Entity) and the Committee agrees that such
request should be satisfied, or if the Committee on its own wishes
to disclose such Confidential Information to creditors, the
Committee may demand (the “Demand”) for the benefit of the
Debtors’ creditors: (i) if the Confidential Information is
information of the Debtors, by submitting a written request, each
captioned as a “Committee lnformation Demand,” to counsel for
the Debtors, stating that such information will be disclosed in the
manner described in the Demand unless the Debtors object to such
Dernand on or before fifteen (15) days after the service of such
Demand; and, after the lodging of such an objection, the
Committee, the Requesting Creditor and the Debtors may schedule
a hearing with the Court seeking a ruling with respect to the
Demand and (ii) if the Confidential Inforrnation is information of
another Entity, by submitting a written request to such Entity and
its counsel of record, with a copy to Debtors’ counsel, stating that

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such information will be disclosed in the manner described in the
Demand unless such Entity objects to such Demand on or before
fifteen (15) days after the service of such Demand; and, after the
lodging of such an objection, the Committee, the Requesting
Creditor, such Entity, and the Debtors may schedule a hearing with
the Court seeking a ruling with respect to the Demand.

5. The Committee may establish and maintain a website as described in the
Moticn. Nothing in this Order shall expand, restrict, affirm, or deny the right or obligation, if
any, of a Committee to provide access or not to provide access, to any information of the
Debtors to any party except as explicitly provided herein.

6. This Court shall retain exclusive jurisdiction to interpret and enforce the
provisions of this Order in all respects and further to hear and determine all matters arising

from the construction and implementation of this Order.

 

The Ho orable Ki:vin J. Carey
United S ates Ban¥ru tcy Judge

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